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                                                                                                 UNITED STATES DISTRICT COURT
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                                                                                               NORTHERN DISTRICT OF CALIFORNIA
                                                                          6
                                                                          7   CRAGO, Inc., individually and on   )   Case No. 07-5944 SC
                                                                              behalf of all others similarly     )
                                                                          8   situated,                          )
                                                                                                                 )   ORDER RELATING AND
                                                                          9             Plaintiffs,              )   CONSOLIDATING CASES
                                                                                                                 )
                                                                         10       v.                             )
                                                                                                                 )
                               For the Northern District of California




                                                                         11   CHUNGHWA PICTURE TUBES, LTD.,      )
United States District Court




                                                                              CHUNGHWA PICTURE TUBES (Malaysia) )
                                                                         12   Sdn. Bhd., HITACHI, LTD., HITACHI )
                                                                              AMERICA, LTD., HITACHI ASIA, LTD., )
                                                                         13   IRICO GROUP CORP., IRICO DISPLAY   )
                                                                              DEVICES CO., LTD., LG ELECTRONICS, )
                                                                         14   INC., MATSUSHITA ELECTRIC          )
                                                                              INDUSTRIAL CO., LTD., PANASONIC    )
                                                                         15   CORPORATION OF NORTH AMERICA, ORION)
                                                                              ELECTRIC CO., LTD., ORION AMERICA, )
                                                                         16   INC., KONINKLIJKE PHILIPS          )
                                                                              ELECTRONICS N.V., PHILIPS          )
                                                                         17   ELECTRONICS NORTH AMERICA, SAMSUNG )
                                                                              SDI CO., LTD., SAMSUNG SDI AMERICA,)
                                                                         18   INC., SAMTEL COLOR, LTD., THAI CRT )
                                                                              COMPANY, LTD., TOSHIBA CORPORATION,)
                                                                         19   BEIJING-MATSUSHITA COLOR CRT       )
                                                                              COMPANY, LTD., MATSUSHITA TOSHIBA )
                                                                         20   PICTURE DISPLAY CO., LTD., and LP )
                                                                              DISPLAYS INTERNATIONAL, LTD.,      )
                                                                         21                                      )
                                                                                        Defendants.              )
                                                                         22                                      )
                                                                         23        The Court has previously issued orders RELATING the following
                                                                         24   cases with the above-captioned case:
                                                                         25   07-6433-SC
                                                                              07-5981-SC
                                                                         26   07-6279-SC
                                                                              07-6303-SC
                                                                         27   07-6331-SC
                                                                              07-6225-SC
                                                                         28   07-6416-SC
                                                                          1        In addition, the Court hereby finds that the following cases
                                                                          2   are also RELATED:
                                                                          3   08-178-EDL
                                                                          4   08-309-MMC
                                                                          5        The Court also finds that all of the above-captioned cases
                                                                          6   are suitable for CONSOLIDATION for the purposes of discovery and
                                                                          7   pre-trial hearings.   This consolidation is warranted by common
                                                                          8   questions of law and fact that pervade these individual matters.
                                                                          9   Consolidation will facilitate discovery and conserve judicial
                                                                         10   resources.
                               For the Northern District of California




                                                                         11        The consolidated cases will henceforth be referred to as "IN
United States District Court




                                                                         12   RE: Cathode Ray Tube (CRT) Antitrust Litigation."   All documents
                                                                         13   are to be filed under case number 07-5944-SC and all future
                                                                         14   filings are to bear the initials "SC" immediately after the case
                                                                         15   number.
                                                                         16        All motions and proceedings now pending in any of these cases
                                                                         17   is hereby STAYED pending a decision by the Multi District
                                                                         18   Litigation (MDL) Panel on Plaintiff's Motion for Centralization in
                                                                         19   case MDL No. 1917.
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                                                                         21
                                                                         22        IT IS SO ORDERED.
                                                                         23
                                                                         24        Dated: January 22, 2008
                                                                         25
                                                                         26                                        UNITED STATES DISTRICT JUDGE
                                                                         27
                                                                         28                                    2
